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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

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                                                                : Chapter 11
In re:                                                          :
                                                                : Case No. 18-10601 (MFW)
The Weinstein Company Holdings LLC, et al.,                     :
                                                                : (Jointly Administered)
                            1
                  Debtors.                                      :
                                                                                        1903
                                                                : Related Docket No.: ___
                                                                :
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           ORDER GRANTING MOTION FOR ORDER TO SHORTEN TIME FOR NOTICE
                OF THE HEARING ON, AND THE DEADLINE TO RESPOND TO,
            THE MOTION OF THE DEBTORS AND LANTERN ENTERTAINMENT, LLC
           PURSUANT TO FED. R. BANKR. P. 9019 FOR APPROVAL OF (I) SETTLEMENT
          AGREEMENT REGARDING THE A&E TELEVISION NETWORKS AGREEMENTS
             AND (II) STIPULATION WITH PORTFOLIO FUNDING COMPANY LLC I

                         Upon the motion (the “Motion to Shorten”)2 of the Debtors and Lantern for entry

      of an order expediting consideration of, and shortening the notice periods applicable to, the

      Settlement Motion, and this Court possessing jurisdiction to consider the Motion to Shorten, and

      venue being proper, and notice of the Motion to Shorten having been sufficient under the

      circumstances, and having considered the Motion to Shorten and all papers related thereto hereto

      filed, and the relief requested in the Motion to Shorten being warranted,

                         IT IS HEREBY ORDERED THAT:

                         1.       The Motion to Shorten is GRANTED as set forth herein.



      1
               The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are
      (3837). The mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York,
      New York 10013. Due to the large number of Debtors in these cases, which are being jointly administered for
      procedural purposes only, a complete list of the Debtors and the last four digits of their federal tax identification
      numbers are not provided herein. A complete list of this information may be obtained on the website of the Debtors’
      noticing and claims agent at http://dm.epiq11.com/twc.
      2
                 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion to
      Shorten.


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                 2.      The Settlement Motion and the Sealing Motion shall be heard on

January 14, 2019 at 11:30 a.m. (ET) (the “Hearing”).

                 3.      Any objections to the Settlement Motion or the Sealing Motion must be

filed and served on the parties to the Settlement Agreement and the PFC/AETN Stipulation on or

before January 9, 2019 at 4:00 p.m. (noon) (ET).

                 4.      The Debtors and Lantern are authorized to take all actions necessary to

effectuate the relief granted in this Order.

                 5.      This Court retains jurisdiction with respect to all matters arising from, or

related to, the implementation, interpretation, and enforcement of this Order.




          Dated: December 28th, 2018
                                                        MARY F. WALRATH
          Wilmington, Delaware                    -2-   UNITED STATES BANKRUPTCY JUDGE
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